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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                            :
                                                     :
           v.                                        :    Case No. 22-CR-389 (TJK)
                                                     :
                                                     :
 ISAIAH GIDDINGS,                                    :
                                                     :
                           Defendant.                :


                                    JOINT STATUS REPORT

       The United States of America and defendant Isaiah Giddings respectfully submit this

joint status report. The parties respectfully request that the Court not set a sentencing date at this

time, as Giddings’ potential cooperation is not yet complete. The parties respectfully propose

that they submit another status report in approximately 90 days, by September 15, 2023.


                                                         Respectfully submitted,

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                                                         United States Attorney
                                                         D.C. Bar No. 481052


                                               By:       /s/ Kyle M. McWaters
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                                               By:       /s/ Nancy MacEoin__________________
                                                         NANCY MACEOIN
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